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Exhibit I
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Chantelle D'Angelo

From: Chantelle D'Angelo

Sent: Monday, June 29, 2015 3:07 PM
To: diev@leviaw.net

Subject: Niles matter

Attorney Lev:

What is the status on the outstanding discovery (medical records} of the plaintiff. am currently preparing for Summary
Judgment and those records are overdue. Furthermore, | would like to schedule a phone call with you for some time
this or next week to see if we can narrow the issues in the Complaint before submitting this matter to the court
{pursuant to LR 7.1}. Please advise a time you are available.

Best,
Chantelle

Chantelle D'Angelo, Esq.

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ATTORNEYS AP LAW

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